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Fn.so ev ____ nc.
IN THE UNITED STATES DISTRICT COURT

FOR THE WESTERN DISTRICT OF TENNESSEE ' H 6t 52
WESTERN DIVISION 05 AUG 23 A

 

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CURLEE WEBB, 559er "”*-; :_l.*é. :|MS
Plaintiff,
VS. NO. 02-2795*Mav

CORPORATE SECURITY, INC. , E'I‘ AL. ,
Defendants/Third-Party Plaintiffs,

VS .

RENEE AUSTILL,

Third-Party Defendant.

 

ORDER EXTENDING DEADLINE

 

The court received a letter from defendants Tommy and Judy
Young requesting an extension of time Within which to file their
dispositive motion. The court construes the letter as a motion
to extend the dispositive motion deadline. For good cause shown,
the motion is granted. Defendants Tommy and Judy Young shall
have additional time to and including September 15, 2005, within
which to file a dispositive motion.

All other deadlines previously set in this matter remain in
effect pending further order of the court.

It is so ORDERED, this q' ay of August, 2005.

V//Vl/L____,

SAMUEL H. MAYS, JR.
U'NITED STATES DISTRICT JUDGE

Ti‘»ls document entered on the dockets i pllancs
with Rule 58 and/or 79(a} FHCP on w

 

 

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This notice confirms a copy of the document docketed as number 153 in
case 2:02-CV-02795 Was distributed by faX, mail, or direct printing on
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Honorable Samuel Mays
US DISTRICT COURT

